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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division
SHANTELL PILI, et aL,
Plaintiffs,
v. Civil Action No. 3:18cv317
ANILKUMAR PATEL, et al.,

Defendants.

MEMORANDUM OPINION

This matter comes before the Court on two motions: Defendants’l Motion to Dismiss
First Amended Complaint (the “Second Motion to Dismiss”) and Defendants’ Motion for
Sanctions (collectiver with the Second Motion to Dismiss, the “Motions”). (ECF Nos. 28, 36.)
Plaintiffs Shantell Pili, Joshua Vaughn, Laio Morris, Valeria Berry, and Akilah Ar-Raheem
(collectively, “Plaintiffs”) responded in opposition to the Motions. (ECF Nos. 31, 43.)
Defendants replied to Plaintiffs’ opposition to the Second Motion to Dismiss. (ECF No. 34).
Defendants did not file a reply to the Motion for Sanctions, and the time to do so has expired.

y On December 11, 2018, the Court held a hearing on the Motions. The matters are ripe for

disposition. The Court exercises jurisdiction pursuant to 28 U.S.C. § 13312 and 28 U.S.C.

 

1 The Amended Complaint identifies the following defendants: Anilkumar Patel; Toral
Patel; SN Holdings, LLC; Richmond Hotel Management, Inc.; GRM Management, LLC; and
Hotels Management, LLC’s (collectively, “Defendants”). (See Am. Compl., ECF No. 26.)

2 “The district courts shall have original jurisdiction of all civil actions arising under the
Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331. The Amended Complaint
alleges violations of the Fair Labor Standards Act (the “FLSA” or the “Act”), 28 U.S.C. §§ 201
et seq.

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§ 1367.3 For the reasons that follow, the Court will deny the Second Motion to Dismiss and the

Motion for Sanctions.

I. Factual and Procedural Background

A. Procedural Bacl_<ground
Plaintiffs bring this four-count Amended Complaint for allegedly unlawful behavior

stemming from Defendants’ employment of Plaintiffs. A recitation of all pleadings will
contextualize the motions currently before the Court.

The original May 14, 2018 Complaint (the “Original Complaint”) named three plaintiffs:
Laio Morris, Shantell Pili, and Joshua Vaughn (the “Original Plaintiffs”). (ECF No. l.) The
Original Complaint brought three claims. In Count l, the Original Plaintiffs sought unpaid wages
and unpaid overtime pay pursuant to the FLSA. In Count II, the Original Plaintiffs claimed, in
the alternative, unpaid wages pursuant to the Virginia Minimum Wage Act. In Count III,
Plaintiff Vaughn asserted a claim under the doctrine of quantum meruit.4

On June 10, 2018, Defendants filed a Motion to Dismiss (the “First Motion to Dismiss”),

(ECF No. 14), which Plaintiffs opposed, (ECF No. 17). On June 29, 2018, Plaintiffs filed a

 

3 The Court exercises supplemental jurisdiction over Plaintiffs’ state claims pursuant to
28 U.S.C. § 1367(a) (“[I]n any civil action of which the district courts have original jurisdiction,
the district courts shall have supplemental jurisdiction over all other claims that are so related to
claims in the action within such original jurisdiction that they form part of the same case or
controversy . . . .”). The Amended Complaint brings state claims pursuant to the Virginia
Minimum Wage Act, Va Code Ann. §§ 40.1-28.8 et seq., as well as a common law claim under
the doctrine of quantum meruit.

4 “Quantum meruit (translated: ‘as much as deserved’) is an equitable doctrine premised
on the notion that one who benefits from the labor of another should not be unjustly enriched.”
Raymond, Colesar, Glaspy & Huss, P.C. v. Allied Capital Corp., 961 F.Zd 489, 490-91 (4th Cir.
1992) (citing Kern v. Freed Co., 224 Va. 678 (Va. 1983)).

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Notice of Filing the First Amended Complaint, (ECF No. 25), and the Amended Complaint,
(ECF No. 26).5

The Amended Complaint names five plaintiffs, adding Valeria Berry and Akilah Ar-
Raheen to Original Plaintiffs Morris, Pili, and Vaughn. The Amended Complaint includes four
causes of action. In Count I, all five Plaintiffs bring an FLSA claim for unpaid wages and unpaid
overtime. In Count II, all Plaintiffs, in the alternative, allege violations of the Virginia Minimum
Wage Act. ln Count III, Plaintiff Vaughn raises a claim pursuant to the doctrine of quantum
meruit. Finally, in Count IV, Plaintiffs Pili and Vaughn each assert, for the first time, a claim for
retaliation pursuant to the FLSA.

On July 19, 2018, Defendants filed the Second Motion to Dismiss. On August 2, 2018,
Plaintiffs responded, and on August 8, 2018, Defendants replied. Six days later, on August 14,

2018, Defendants filed the Motion for Sanctions." On August 28, 2018, Plaintiffs opposed the

 

5 Plaintiffs properly invoked Federal Rule of Civil Procedure 15(a)(l)(B) to amend their
Complaint as a matter of course. See Fed. R. Civ. P. 15(a)(l)(B) (“A party may amend its
pleading once as a matter of course within . . . 21 days after service of a motion under Rule
12(b).”). Plaintiffs filed their Amended Complaint within twenty-one days after Defendants filed
the First Motion to Dismiss.

Defendants argue that Rule 15 “d[oes] not give Plaintiffs a license to join new parties.”
(Mem. Supp. 2d Mot. Dismiss 8, ECF No. 29.) Defendants instead contend that Rule 21 of the
Federal Rules of Civil Procedure governs the joinder of parties.

Case law to the contrary is clear: “a plaintiff has an absolute right to amend [her or] his
complaint once before a responsive pleading has been filed and need not seek leave of court to
do so.” Galustian v. Peter, 591 F.3d 724, 730 (4th Cir. 2010). This absolute right includes the
right to add parties via Rule 15, not Rule 21. Id. Under Rule 15, parties may add new plaintiffs,
defendants, or both. Produce Alliance, LLC v. Let- Us Produce, Inc., No. 2:100Vl98, 2010 WL
7504802, at *2 (E.D. Va. Nov. 22, 2010).

6 In a letter dated July 19, 2018, Counsel for Defendants warned Plaintiffs about the
forthcoming Motion for Sanctions, and provided Plaintiffs an opportunity to remedy the

allegedly sanctionable behavior, in accordance with the Federal Rules of Civil Procedure. (Jul.
19, 2018 Sanctions Letter, ECF No. 37-2; see Fed. R. Civ. P. ll(c)(2).)

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Motion for Sanctions. Defendants opted not to reply. On December l 1, 2018, the Court held a
hearing (the “December 11, 2018 Hearing”) on the Motions.

B. Summag[ of Compensation-Related Allegations'l in the Amended Complaint8

According to Plaintiffs, Defendants operate the Akaza Hotel9 in Richmond, Virginia.
Although a change in formal ownership occurred during some of the relevant times,10 Plaintiffs
aver that “upon information and belief, the natural persons (including Anilkumar and Toral
Patel) associated with ownership (via SN Holdings, LLC) and management of the hotel have
remained the same throughout all relevant periods.” (Am. Compl. 11 16.)

Defendants Anilkumar Patel and Toral Patel (collectively, the “Patels”) were “involved in
the ownership and management of the Akaza Hotel, the formation of all corporate Defendants in
this lawsuit, and exercised the power to hire and fire, controlled [Plaintiffs’] work schedules, and

directed Plaintiffs in their work.” (Id. 111[ 20-21.) The Patels also “W[ere] involved in

 

7 The compensation-related allegations form the basis of Count I (the FLSA
compensation claim), Count II (the Virginia minimum wage claim), and Count III (Vaughn’s
quantum meruit claim), The Court summarizes the factual allegations that support Plaintiffs Pili
and Vaughn’s retaliation claims (Count IV) in the following discussion, Section C.

8 For purposes of the Second Motion to Dismiss, the Court Will assume the well-pleaded
factual allegations in the Amended Complaint to be true and will view them in the light most
favorable to Plaintiffs. Mylan Labs, Inc. v. Matkari, 7 F.3d 1130, 1134 (4th Cir. 1993).

9 The Amended Complaint identifies the hotel property, located at 6531 W. Broad Street,
Richmond, Virginia 23230, as “Akaza Hotel of Richmond, Speco Hotels [sic] of Richmond, and
Hotel I-64.” (Am. Compl. 1[ 15 (brackets in original).) The Court refers to the property as the
“Akaza Hotel” or the “Hotel.”

10 Plaintiffs maintain that SN Holdings, LLC; Richmond Hotel Management, Inc.;
Anikumar Patel; and Toral Patel “collectively operate” the Akaza Hotel and that GRM
Management, LLC, and Hotels Management, LLC, have “also been involved in operating the
Akaza Hotel at relevant times.” (Am. Compl. ‘[[1[ 22_23.)

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establishing the ‘Volunteer for Humanitarian Trade Agreement’ program[l ll through which the
Akaza Hotel recruited desperate people to work without any cash wages at the hotel.” (Id.)
According to Plaintiffs, Defendants recruit and hire “desperate” workers via online
advertisements (Ia'. 1111 21, 24.) These workers provided services, including “landscaping,
repairing appliances, cleaning hotel rooms, replacing water-damaged sheetrock, repairing
plumbing issues, examining Water damage, replacing frarnework, replacing tile, painting, making
bookings, checking guests in and out, receiving and processing payments, inspecting rooms for

damage, and other assorted services.” (Id. 11 25.)

 

ll Plaintiffs add few details in the body of their Amended Complaint about the so-called
Volunteer for Humanitarian Trade Agreement program (or the “Program”), but they attach the
purported agreements with Defendants that Plaintiffs Pili and Vaughn signed (the “Volunteer for
Humanitarian Trade Agreements” or the “Agreements”) to the Amended Complaint. (ECF No.
26-1.) The Court may consider the Agreements when ruling on the Rule 12(`b)(6) Motion to
Dismiss. Zak v. Chelsea Therapeutics Int’l, Ltd., 780 F.3d 597, 606 (4th Cir. 2015) (“[W]hen a
defendant moves to dismiss a complaint under Rule 12(b)(6), courts are limited to considering
the sufficiency of allegations set forth in the complaint and the ‘documents attached or
incorporated into the complaint.”’ (quoting E.I. du Pont de Nemours & Co. v. Kolon Indus., Inc.,
637 F.3d 435, 448 (4th Cir.2011))).

Each Agreement refers to “the hotel” and “the Company” throughout (See Pili
Volunteer for Humanitarian Trade Agreement 1, ECF No. 26-1.) The letterhead reads “Hotel
Management, LLC,” one of the named defendants in this case. (Id.) The address identified,
6531 West Broad Street, is that of the Hotel. Oddly, no person or business representative signs
the Agreements on behalf of “the hotel” or “the Company.” (Id.) Instead, only the “volunteers”
fill out and sign them. (Id.)

The Agreements undergird many of Plaintiffs’ allegations F or example, Pili’s
Agreement identifies her as a volunteer “help[ing] us [Hotel Management LLC] With general
work at the hotel.” (Pili Volunteer for Humanitarian Trade Agreement 1.) Pili’s Agreement
provides that “[i]n consideration for this volunteering effort on your part, we are prepared, in
return[,] to volunteer a room to you on a daily basis where the hotel pays for the room rent,
utilities, cable TV, internet[,] and garbage.” (Id.) The Agreement specifies that, should Pili fail
to complete her volunteer work “to a satisfactory level,” the Hotel will charge for the use of the
room at a rate of $500 per week. (Id.)

Finally, despite the previous delineation of obligations and consideration between the
parties, language in the Agreement purports to conclude: “In no way or form does this
agreement form an employer-employee relationship.” (Ia'.)

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As compensation, Defendants provided workers with accommodations at the hotel rather
than monetary payment. These hotel rooms “were in substandard condition, and many . . .
lacked basic utilities and/or had health hazards.” (Id. jj 28.) Plaintiffs also contend that, “[t]o the
degree anyone at the hotel kept records, [the Patels], upon information and belief`, w[ere]
involved in such recordkeeping.” (Id. 1111 20-21.)

F or each Plaintiff, the Amended Complaint details the dates of alleged employment, the
alleged hours worked at the Hotel, the tasks undertaken, and the conditions of the
accommodations received in exchange for their services. Although the factual allegations differ
based on each Plaintiff’s experience, the theme is clear: according to Plaintiffs, Defendants
required them to perform various hotel tasks,12 often working over forty hours a week without

overtime compensation,13 in exchange for residing in substandard rooms.14

 

12 Plaintiffs aver that Pili, Morris, and Ar-Raheem worked as front desk clerks; Vaughn
completed maintenance and construction projects; and Berry worked as a housekeeper.

13 For exarnple, Plaintiffs contend that Pili worked 40-53 hours per week, and Berry
worked approximately fifty-four hours per week. Plaintiffs also claim that Berry “was often on-
call after her normal working hours.” (Am. Compl. 11 68.)

14 For instance, Plaintiffs allege that Pili’s room “had a broken heating system, even
though it Was late autumn and winter.” (Am. Compl. 1[ 36.) Vaughn’s room “had a constant
smell of mold and mildew.” (Id. 11 47.) Defendants provided Berry With a room that “had bed
bugs and roach infestations and a constant smell of mold and mildew.” (Id. 11 69.) And Ar-
Raheem’s room “had mold and water damage.” (Id. 11 75.)

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C. Summal_'y of Retaliation-Related Allegations and Procedural Histol_'yls

On April 20, 2018, prior to filing suit, Counsel for Plaintiffs sent Defendants a Demand
Letter marked “F or Settlement Purposes Only.”16 (Demand Letter 1, ECF Nos. 37-1, 43-1
(capitalization and bolding altered).) The Demand Letter summarized Pili and Vauglm’s claims
and invited Defendants to provide “a copy of contemporaneous accounting of [Pili and
Vaughn’s] hours worked and wages paid.” (Demand Letter 2, ECF Nos. 37-1, 43-1.) The
Demand Letter also stated: “If we can resolve this case out of court, we will not file the
lawsuit.” (Id. at 2.) Plaintiffs gave Defendants until May 4, 2018 to respond.

When asked for additional time to respond to the Demand Letter, Counsel for Plaintiffs
agreed to seven more days, or until May ll, 2018, (Correspondence 8-10, ECF No. 43-1.)
After Counsel for Defendants failed to contact Counsel for Plaintiffs by the May 11, 2018
deadline, the Original Plaintiffs filed their Original Complaint on May 14, 2018,

On May 16, 2018, Counsel for Defendants renewed contact with Counsel for Plaintiffs
“apologizing for [his] failure to respond . . . by May ll, 2018 and inquiring if they were still

amendable to resolving the claim.” (Jackson Aff. at 2, ECF No. 37-1.) After further email

 

15 Two standards of review apply to the retaliation claims. For purposes of the Motion to
Dismiss, the Court assumes the well-pleaded factual allegations to be true and views them most
favorably to Plaintiffs as the non-moving party. Matkari, 7 F.3d at 1134. When assessing the
Motion for Sanctions, the Court considers the entire record to determine the outcome, which is
reviewed on appeal for abuse of discretion. Brubaker v. Cin of Richmond, 943 F.2d 1363, 1374
(4th Cir. 1991).

16 Briefing by both parties on the Motion for Sanctions included copies of some, but
seemingly not all, correspondence between Counsel for Plaintiffs and Counsel for Defendants.
Additional communication occurred telephonically, which the parties characterize differently.
Counsel for both sides filed sworn statements describing their interactions. (See Jackson Aff`.,
ECF No. 37-1; Levy-Lavelle Decl., ECF No. 43-1). Further elaboration took place during the
December ll, 2018 Hearing. No party disputes the authenticity of the correspondence, and each
party has had an opportunity to supplement the record, so the Court considers the evidence When
evaluating the Motion for Sanctions. See, e.g., Brubaker, 943 F.2d at 1374.

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exchanges, Counsel for Defendants sent Counsel for Plaintiffs several documents, including two
“Reconciliation Sheets.” (Pls.’ Ex. B (“Pili’s Reconciliation Sheet”), ECF No. 26-2; Pls.’ Ex. C
(“Vaughn’s Reconciliation Sheet”), ECF No. 26-3.) Other than Plaintiffs’ April 20, 2018
Demand Letter, no email or document from either side_including Defendants_bore a “for
settlement only” or similar notation.

The Reconciliation Sheets include notations that Pili and Vaugh owed money to, and
committed crimes against, the Hotel. Pili’s Reconciliation Sheet indicates that Pili owes
Defendants $1,026.25 “‘for the fair value of room’ less the alleged value of the work that [Pili]
performed.” (Am. Compl. 11 38 (quoting Pili’s Reconciliation Sheet l).) Pili’s Reconciliation
Sheet also states that Pili stole items from the Hotel (including cash from the front desk), and that
she “is Guilty of both Grand Theft And Defrauding the Innkeeper for the sum of $7,526.25.”
(Pili’s Reconciliation Sheet l (capitalization in original).) Plaintiffs contend that Pili “never
stole items from Defendants and had never before been told that she owed [Defendants] money
for the ‘fair value of room’ at the hotel.” (Am. Compl. 11 39.) Plaintiffs charge that Defendants

made these accusations in retaliation for Pili filing the Original Complaint.17

 

17 Counsel for Defendants strongly challenges this characterization Suggesting that the
scope of his representation was limited to settlement negotiation, Counsel for Defendants swears
he informed Counsel for Plaintiffs “that Mr. Patel had requested my firm to see if we could
resolve this matter.” (Jackson Aff. 1.) Plaintiffs, in response to the Motion for Sanctions, attach
a copy of a letter sent by Counsel for Defendant via facsimile, which states only that Defendants
authorized Counsel for Defendant “to address” the Demand Letter. (Correspondence 8, ECF No.
43-1.) It includes no qualifying language limiting it to settlement

During the December ll, 2018 hearing, Counsel for Defendants argued that Plaintiffs
knew he possessed only the limited authority to settle the case, meaning that any and all
correspondence constituted confidential settlement negotiations Defense Counsel contended
that Plaintiffs’ use of the allegedly confidential information, and their refi.lsal to withdraw the
documents and retaliation claim, therefore support Defendants’ Motion for Sanctions.

The Court finds this argument unpersuasive Nothing in the written record, and nothing
developed during the December ll, 2018 Hearing, could remotely support a finding that

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Vaughn’s Reconciliation Sheet-sent days after Plaintiffs filed the Original Complaint-
evinces similar notations Vaughn’s Reconciliation Sheet notes that Vaughn owed the Hotel
$310.00 for the fair value of his room. Vaughn’s Reconciliation Sheet indicates that “Vauglm’s
incompetent wor ” resulted in $5,700.00 in damages and $250 in repairs. (Vaughn’s
Reconciliation Sheet 1, ECF No. 26-3.) It further represents that Vaughn “Stole items from the
Hotel including Tools, Fridge, [and] Microwave.” (Id. (capitalization in original).) Finally, as
with Pili, an annotation charges that Vaughn “is Guilty of both Grand Theft And Defrauding the
Innkeeper for [a different] sum of $6,760.00.” (Id.) Plaintiffs again contend that Vaughn “never
stole any items from Defendants and had never before been told that he owed money for the ‘fair
value of room’ at the [H]otel” beyond the deposit. (Am. Compl. 11 56.) Plaintiffs claim that
Defendants made these accusations in retaliation for Vaughn filing the Original Complaint,

In response to Defendants’ sending the Reconciliation Sheets and other documents,
Counsel for Plaintiffs asked Counsel for Defendants to further explain the information in the
Reconciliation Sheets, ilicluding records showing how Defendants calculated the values cited in
both Pili and Vaughn’s Reconciliation Sheets. Counsel for Defense did not respond to this
request, apparently prioritizing deadlines in this Court instead. Plaintiffs then filed their
Amended Complaint, asserting, in Count IV, Pili and Vaughn’s FLSA retaliation claims,

II. Ar_\alvsi_s: Second Motion to DM
Plaintiffs bring this four-count action against Defendants, alleging violations of the
FLSA, Virginia state law claims, and the common law doctrine of quantum meruit. Defendants
move to dismiss all four counts in their Second Motion to Dismiss. The Court finds that

Plaintiffs plausibly allege facts in support of their FLSA claims, Counts I and IV, The Court will

 

Plaintiffs actually knew, or should have known, that Counsel for Defendants could only engage
in confidential settlement discussions

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exercise supplemental jurisdiction over Count ll (the Virginia state law claim) and Count III (the
quantum meruit claim) pursuant to 13 U.S.C. § 1367.18 Accordingly, and for the reasons that
follow, the Court will deny the Second Motion to Dismiss.

A. Standard of Review: Federal Rule of Civil Procedure 12jb|g6}19

Black letter law provides that a plaintiff’s well-pleaded allegations are taken as true and
the complaint is viewed in the light most favorable to the plaintiff when a court evaluates a
motion under Fed. R. Civ. P. 12(b)(6). Matkarz', 7 F.3d at 1134; see also Republican Party of
N.C. v. Martin, 980 F.2d 943, 952 (4th Cir. 1992). This principle applies only to factual

allegations, however, and “a court considering a motion to dismiss can choose to begin by

 

18 Defendants posit that the Court must dismiss Counts II and III for lack of supplemental
subject matter jurisdiction under 28 U.S.C. § 1367. This argument could only prevail if the
Court were to dismiss the FLSA claims that provide federal question jurisdiction under 18
U.S.C. § 1331. The Court declines to dismiss the FLSA claims, so Counts II and III will remain
as well.

19 Defendants brought the Second Motion to Dismiss pursuant to Rule 12(b)(l), claiming
the Court lacks subject matter jurisdiction over the claims because Plaintiffs fail to show, by a
preponderance of the evidence, that Defendants meet the $500,000 threshold requirement for
enterprise coverage under the FLSA. But enterprise coverage under the FLSA does not
constitute a jurisdictional question. See, e.g., Velasquez v. Salsas and Beer Rest., Inc., 735 Fed.
Appx. 807, 808-809 (4th Cir. 2018) (disagreeing with the district court’s “conclusion that
enterprise coverage under the FLSA is a jurisdictional requirement,” but ultimately affirming the
district court’s judgment on the basis of its alternative disposition (footnote omitted)); see also
Maravilla v. Ngoc Anh Rest., Ltd., No. 1:16cv427, 2016 WL 6821090, at *3 (E.D. Va. Nov. 17,
2016) (stating that courts “have overwhelmingly concluded that coverage is an element of the
claim for relief, not a jurisdictional question.” (collecting cases)).

Defendants unpersuasiver cite two outlier cases in support of their position that Rule
12(b)(1) applies: Russell v. Contz‘nental Restaurant, Inc., 430 F. Supp. 2d 521 (D. Md. 2006) and
Aguilar v. LR Coz'n Laundromat, Inc., No. RDB-l l-02352, 2012 WL 1569552 (D. Md. May 2,
2012). The decisions do not bind this Court, and no court appears to have followed the
reasoning in either decision. See, e.g., Maravilla, 2016 WL 6821090, at *3 (calling the decision
in Aguilar “puzzling” in light of prevailing case law at the time). As the Maravilla Court
concluded, the Russell and Aguilar decisions have “been overtaken by the body of precedent in
the District of Maryland that now recognizes that granting a Rule 12(b)(l) motion on the basis of
FLSA coverage is improper.” Id. Thus, in the interest of j udicial economy, this Court properly
construes Defendants’ challenge as a Second Motion to Dismiss pursuant to Rule 12(b)(6).

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identifying pleadings that, because they are no more than conclusions, are not entitled to the
assumption of truth.” Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009). “A motion to dismiss under
Rule 12(b)(6) tests the sufficiency of a complaint; importantly, it does not resolve contests
surrounding the facts, the merits of a claim, or the applicability of defenses.” Martin, 980 F.2d at
952 (citing 5A Charles A. Wright & Arthur R. Miller, Federal Practice and Procedure § 1356
(1990)).

A complaint conéaining only “labels and conclusions” or a “formulaic recitation of the
elements of a cause of adtion” cannot survive a Rule 12(b)(6) challenge. Bell Atl. Corp. v.
Twombly, 550 U.S. 544, 555 (2007) (citations omitted). Instead, a plaintiff must assert facts that
rise above speculation and conceivability to those that “show” a claim that is “plausible on its
face.” Iqbal, 556 U.S. at 678-79 (citing Twombly, 550 U.S. at 570; Fed. R. Civ. P. 8(a)(2)). “A
claim has facial plausibility when the plaintiff pleads factual content that allows the court to
draw the reasonable inference that the defendant is liable for the misconduct alleged.” Id. at 678
(citing Twombly, 550 U.S. at 556).

“A plaintiff is generally permitted to plead facts based on ‘information and belief if such
plaintiff is in a position of uncertainty because the necessary evidence is controlled by the
defendant.” Ridenour v. Multi-Color Corp., 147 F. Supp. 3d 452, 456 (E.D. Va. 2015). This
allowance is not limitless. See, e.g., Pirelli Armstrong Tire Corp. Retiree Mea'. Benefits Tr. v.
Walgreen Co., 631 F.3d 436, 442 (7th Cir. 2011) (holding, in the context of a pleading for fraud
under Rule 9(b), that “[w]hen a plaintiff sets out allegations on information and belief, he [or
she] is representing that he [or she] has a good-faith reason for believing what he [or she] is
saying, but acknowledging that his [or her] allegations are ‘based on secondhand information

that he [or she] believes to be true”’) (citing Black’s Law Dictionary 783 (7th ed. 1999)).

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B. Plaintiffs Sufficiegtlv Plead that the FLSA App_lies

Plaintiffs bring two counts pursuant to the FLSA. In Count I, Plaintiffs claim that
Defendants owe Plaintiffs compensation for the work that Plaintiffs performed for Defendants.
In Count IV, Plaintiffs allege that Defendants unlawfully retaliated against Plaintiffs Pili and
Vaughn for filing the Original Complaint,

Defendants challenge the applicability of the FLSA on two grounds. First, Defendants
posit that the enterprise at issue falls outside of the scope of the FLSA because its gross annual
revenue does not meet the $500,000 threshold required for enterprise coverage. Next,
Defendants argue that Plaintiffs have failed to plausibly establish an employer-employee
relationship between Defendants and each of the Plaintiffs.

Both arguments fail. Plaintiffs plausibly allege facts to support a finding, at this stage,
that Defendants’ enterprise falls within the scope of the FLSA and that each of the Plaintiffs had
an employer-employee relationship with Defendants. Accordingly, the Court will deny the
Second Motion to Dismiss.

1. Plaintiffs Sufficiently Plead That Defendants Fall Within the
Definition of “Ente§prise” Within the FL_SA

To recover under the FLSA, a plaintiff may rely on two theories of recovery. First, a
plaintiff may demonstrate that the employer constitutes an “enterprise engaged in commerce or
in the production of goods for commerce” (“enterprise coverage”) whose “annual gross volume
of sales made or business done is not less than $500,000 (exclusive of excise taxes at the retail
level that are separately stated).” 29 U.S.C. §§ 206(a), 207(s)(1)(A)(ii). “Under the FLSA, an
‘enterprise’ need not be a single business.” Griffin v. Daniel, 768 F.Supp. 532, 535 (4th Cir.
1991). Alternatively, a plaintiff may allege that the plaintiff has, in her or his capacity as an

employee, personally “engaged in commerce or in the production of goods for commerce”

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(“individual coverage”). Id. at § 207(a)(1). The Court concludes that Plaintiffs plausibly allege
that Defendants’ gross volume of sales made or business done meets the $500,000 threshold,20
thus establishing enterprise coverage and surviving this Rule 12(b)(6) challenge.

Plaintiffs allege that “[u]pon information and belief, and notwithstanding Defendants’
claims to the contrary, Defendants received at least $500,000 in gross revenue in each of 2016
and 2017.” (Am. Compl. ‘[[ 31.) Defendants challenge this assertion as “a conclusory and wholly
unsupported claim.”21 (Mem. Supp. 2d Mot. Dismiss 10.) In response, Plaintiffs state: “Based
on firsthand knowledge, the Plaintiffs anticipate that discovery . . . will firmly establish that the
Defendants enjoyed revenue in excess of $500,000 ‘annual gross volume of sales or business

done’ during the relevant time.” (Resp. 2d Mot. Dismiss 9.)

 

20 Because this finding allows the FLSA claims to proceed regardless of whether each
plaintiff individually engaged in commerce or the production of goods for commerce, the Court
need not address Defendants’ alternative arguments that each Plaintiff did not engage in
commerce within the scope of the FLSA.

21 Defendants attach several documents attested to by Defendant Anilkumar Patel in an
effort to support their position that “the Akaza Hotel had a gross volume of sales of far less than
$500,000 during calendar years 2016 and 2017.” (Mem. Supp. 2d Mot. Dismiss 10; see Patel
Aff., ECF No. 15-1.) The Court cannot consider these documents when ruling on the Second
Motion to Dismiss.

Although the Court can, in some circumstances, consider matters outside of the pleadings
Without converting a motion to dismiss into one for summary judgment, the Court declines to do
so here. See Witthohn v. Fed. Ins. Co., 164 F. App’x 395, 396-97 (4111 Cir. 2006) (citations
omitted) (“[A] court may consider official public records, documents central to plaintiffs claim,
and documents sufficiently referred to in the complaint [without converting a Rule 12(b)(6)
motion into one for summary judgment] so long as the authenticity of these documents is not
disputed.”).

Although Defendants proffer what are presumably public tax documents showing gross
sales and income for the business entities, they fail to identify any documents regarding
Anilkumar and Toral Patels’ relationship to, and income from, the business entities. Even
presuming Plaintiffs would accede to the documents’ authenticity, the proffered documents
likely do not meet any accepted Witthohn exception. Were the Court to consider them, they
would not establish the business structure in a manner that would decide the enterprise issue.
Especially given Plaintiffs’ good-faith assertions that discovery will aid in the decisional process,
the Court declines to consider those documents or to convert the Second Motion to Dismiss into
one for summary judgment

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Viewing the allegations in the light most favorable to the non-moving party, Plaintiffs’
minimal allegation passes muster. Plaintiffs plainly contend that, “[u]pon information and
belief,” Defendants meet the $500,000 threshold for enterprise coverage to apply. (Am. Compl.
1[ 31.) Because a common enterprise within the FLSA may include multiple entities,22 the Court
finds Plaintiffs’ allegation that Defendants meet the $500,000 threshold requirement plausible.
See Grijj‘in, 768 F.Supp. at 535.

Further, Plaintiffs may plead on information and belief and survive a Rule 12(b)(6)
motion to dismiss when the information to support the factual allegations exists within the
Defendants’ control.23 See Ridenour, 147 F. Supp. 3d at 456. The Court has no difficulty
concluding that Defendants possess the relevant information regarding Akaza Hotel’s gross
volume of sales or business done.

Accordingly, Plaintiffs sufficiently plead that the FLSA applies to Defendants through
the enterprise coverage provisions, and the Court will deny the Second Motion to Dismiss
brought on this basis.

2. Plaintiffs Sufficiently Plead that an Employee-Employer Relationship
Exists Between Each Plaintiff and Defendants

A plaintiff must also establish an employer-employee relationship within the meaning of

the FLSA to prevail in her or his FLSA suit. Kerr v. Marshall Uni. Bd. OfGovs., 824 F.3d 62,

 

22 The Complaint names four corporate defendants In determining whether Defendants
meet the $500,000 threshold, the Court will ultimately consider “the related activities performed”
by all Defendants. Griyj‘z`n, 768 F.Supp. at 535. lt would be premature for the Court to find, at
this early stage, that Plaintiffs cannot meet their burden of proof with regard to enterprise
coverage.

23 The fact that Defendants contest this factual allegation does not alter the current
analysis. See Mylan, 7 F.3d at 1134.

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83 (4th Cir. 2016). Plaintiffs abundantly do so here under what is called the Economic Reality
Test.24

Although the FLSA defines the terms employer,25 employee,26 and employ,21 “there is . . .
no definition that solves problems as to the limits of the employer-employee relationship under
the Act.” Rutherford Food Corp. v. McComb, 331 U.S. 722, 728 (1947). The Supreme Court of
the United States has stated: “The definition of ‘employ’ is broad.” Id. Similarly, “[a] broader
or more comprehensive coverage of employees would be difficult to frame.” Grijj'in, 768
F.Supp. at 539 (quoting United States v. Rosenwasser, 323 U.S. 360, 362 (1944) (alterations in
original)). Courts interpret the term employer broadly to include “those with managerial
responsibilities and ‘substantial control of the terms and conditions of the work of . ..
employees.”’ Kerr, 824 F.3d at 83 (quoting Falk v. Brennan, 414 U.S. 190, 195 (1973)). The
FLSA even applies to informal and loose employment relationships See, e.g., Grzjin, 768
F.Supp. at 538-40.

The existence of an employer-employee relationship “does not depend on . . . isolated

factors but rather upon the circumstances of the whole activity.” Ruthe)j"ord, 331 U.S. at 730. A

 

24 The United States Court of Appeals for the Fourth Circuit directs a court to apply the
Economic Reality Test when assessing a FLSA claim, which “focuses on whether the worker is
‘economically dependent on the business to which [she or] he renders service or is, as a matter of
economic [reality], in business for [her- or] himself.” Kerr, 824 F.3d at 83 (quoting Schultz v.
Capital Int ’l Sec., Inc., 466 F.3d 298, 304 (4th Cir. 2006) (brackets in original)). The FLSA does
not apply to “those who, without any express or implied compensation agreement, might work
for their own advantage on the premises of another.” Rutherfora’, 331 U.S. at 729-30 (quotation
omitted).

25 The FLSA defines an “ernployer,” in relevant part, as “any person acting directly or
indirectly in the interest of an employer in relation to an employee.” 29 U.S.C. § 203(d).

26 “The term ‘employee’ means any individual employed by an employer.” 29 U.S.C.

§ 203(¢)(1).

27 “‘Employ’ includes to suffer or permit to Work.” 29 U.S.C. § 203(g).
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court must consider the “underlying economic realities” in a fact-specific manner. Id. at 727
(quoting Walling v. Ruthe)ford Food Corp., 156 F.2d 513, 517 (lOth Cir. 1946). For instance, a
court may consider the worker’s economic dependency on the alleged employer. Grijj‘in, 768
F.Supp. at 539.

Under the Economic Reality Test, a court should consider four factors: “whether the
alleged employer (l) had the power to hire and fire the employees, (2) supervised and controlled
employee Work schedules or conditions of employment, (3) determined the rate and method of
payment, and (4) maintained employment records.” Id. (quoting Herman v. RSR Sec. Servs. Ltd.,
172 F.3d 132, 139 (2d Cir. 1999). These factors are not necessarily exhaustive, and a court must
consider the circumstances of the activity as a whole because “no one factor is dispositive.” Id.

a. Plaintiffs Sufficiently Satisfy All Aspects of the
Econ_ogic Realitv Test

Plaintiffs plead sufficient facts to show that an employee-employer relationship exists
between each Plaintiff and Defendants within the scope of the FLSA. The Amended Complaint
asserts that each plaintiff worked for the Hotel without receiving monetary compensation28 For
each Plaintiff, the Amended Complaint describes the kinds of tasks that Plaintiffs completed for
the benefit of the hotel. These tasks included front desk duties, maintenance duties,
housekeeping duties, and landscaping duties As compensation, each Plaintiff lived in one of the
Hotel rooms without paying the room rate.

Defendants founder when asserting that Plaintiffs’ Amended Complaint does not survive

a motion to dismiss because it fails to properly allege an employer-employee relationship The

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211 Plaintiff Ar-Raheem claims she received monetary payment at the beginning of her
working relationship with Defendants, but later ceased receiving monetary payment, The other
four Plaintiffs allege that they never received any monetary compensation

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Court will explain why Defendants cannot prevail by addressing each of the four prongs of the
Economic Reality Test in turn.

b. Factor One: Plaintiffs Sufficiently Plead that Defendants
Had the Power to Hire and Fire Egnlovees

As the first aspect of assessing whether an employer-employee relationship exists, the
Fourth Circuit instructs courts to consider whether the alleged employer had the power to hire or
fire the worker. The Amended Complaint alleges that the Patels “exercised the power to hire and
fire” Plaintiffs (Am. Compl. 1[1[ 20, 21 .) Further, the Patels purportedly “directed Plaintiffs in
their work.” Id. Plaintiffs also contend that Mr. Patel controlled Plaintiffs’ work schedules The
Court, having reviewed the entire Amended Complaint, draws the reasonable inference that the
Patels exercised the power to hire and fire Plaintiffs

First, allegations in the Amended Complaint state generally that Defendants recruited
workers using online advertisements.29 Plaintiffs specifically contend that Vaughn learned about
this work opportunity through an online advertisement Although nothing in the Amended
Complaint expressly asserts that each plaintiff learned about the “Volunteer for Humanitarian
Trade Agreement” program through these online advertisements the Court does not hesitate in
drawing the reasonable inference that each Plaintiff learned about the opportunity through
similar advertisements meaning that the Patels had the power to hire Plaintiffs

Second, Plaintiffs aver, with specificity, that “Defendants, by Mr. Patel, offered Mr.

Vaughn approximately 20 hours a Week of Work in exchange for a room at Defendants’ hotel.”

 

29 In reply, Defendants belatedly take issue with Plaintiffs’ consistent use of the word
“Defendants” instead of signaling which of the six named defendants the Amended Complaint
specifically refers to. (See Reply 2d Mot. Dismiss 5-6, ECF No. 34.) But the Amended
Complaint states that the Patels, the only natural persons named in the suit, own and manage the
Hotel through the other four corporate defendants The Amended Complaint does not identify
other hotel staff or management The Court draws the reasonable inference in favor of Plaintiffs
that the Patels acted on their own behalf, as well as on behalf of, or as, the corporate entities

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(Am. Compl. jj 45.) Taking this allegation as true, this evinces Mr. Patel’s authority to hire the
workers at the Azaka Hotel. Although no allegation in the Amended Complaint identifies by
name who directed each Plaintiffs activities at every juncture, the Court draws the reasonable
inference that Defendants entered into the work agreements with each Plaintiff.

Third, Plaintiffs attach two Volunteer for Humanitarian Trade Agreements between
Defendants and Plaintiffs Pili and Vaughn, respectively.30 The Agreements provide support for
Plaintiffs’ contention that Defendants had the power to hire and fire Plaintiffs The Volunteer for
Humanitarian Trade Agreement between Pili and the Hotel required Pili to “undertake volunteer
work to a satisfactory level” or risk both ejection from the compensating room and billing for the
stay.31 (Pili Volunteer for Humanitarian Trade Agreement 1.) This suggests that Defendants as
parties to the Agreement, had the authority to “fire” Plaintiffs, by expelling them from the
premises

The Court concludes that the first prong of the Economic Reality Test, the ability to hire
and fire, strongly favor`séa conclusion that an employer-employee relationship existed between

Defendants and each Plaintiff.

 

311 The Amended Complaint does not attach Volunteer for Humanitarian Trade
Agreements for each named Plaintiff. The Court does not consider the lack of other Agreements
a basis to dismiss the other Plaintiffs Plaintiffs allege generally that Defendants used the
Volunteer for Humanitarian Trade program to recruit people to work in exchange for living on
the Hotel premises rather than money. The Amended Complaint consistently includes facts in
support of Plaintiffs’ claim that each Plaintiff worked at the hotel in exchange for living at the
Hotel rather than for money. That Plaintiffs did not allege that each Plaintiff entered into a
similarly worded agreement does not bar their claims,

31 The fact that the Agreement refers to “volunteer” work rather than employment does
not control. See Rutherford, 331 U.S. at 729 (concluding that when “the work done, in its
essence, follows the usual path of an employee, putting on an ‘independent contractor’ label does
not take the workers from the protection of the Act.”). Rather, the “underlying economic
realities” control. Ia'. at 727 (quotation omitted).

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c. Factor Two: Plaintiffs Sufficiently Plead that Defendants
Controlled Plaintiffs’ Work Schedules and Conditions of

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As to the second factor, the Fourth Circuit instructs courts to consider whether the alleged
employer controlled the supposed employee’s work schedule and conditions of employment
Plaintiffs flatly claim that that the Patels “directed Plaintiffs in their work.” (Am. Compl. 1[11 20-
21 .) Plaintiffs also plausibly allege that Mr. Patel controlled Plaintiffs’ work schedules
Although a “formulaic recitation of the elements of a cause of action” does not suffice to survive
Rule 12(b)(6) scrutiny, Twombly, 550 U.S. at 555, the Court, having reviewed the entire
Amended Complaint, draws the reasonable inference that the Patels controlled Plaintiffs’ work
schedules32 and conditions of employment.

Plaintiffs plainly allege that they worked for the benefit of the Hotel. Plaintiffs engaged
in routine hotel-related tasks, including: maintenance, housekeeping, front desk duties, and other
tasks These types of tasks require assignment to a specific room, area, or time. Because only
Defendants as owners of the Hotel, could reasonably make those determinations the Court
readily infers that Defendants controlled Plaintiffs’ work schedules Indeed, at this stage, when
the Court must draw all reasonable factual inferences in favor of Plaintiffs, no other reasonable
inference exists

In addition to assessing control over work assignments under factor two of the Economic

Reality Test, a court should also consider whether the supposed employer controlled the alleged

 

32 For example, as to their work schedules Plaintiffs assert that Vaughn met “at
approximately 8:30 a.m. each workday with Mr. Patel, who would assign him the rooms in
which to work for that day.” (Am. Compl. j[ 49.) Plaintiffs add that “Berry was often on-call
after her normal working hours.” (Id. 11 68.) The Court makes the reasonable inference that
Defendants required Berry to be “on-call,” and thus controlled her work schedule. (Id.) Neither
the Amended Complaint, nor common sense, supports a different conclusion.

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employee’s conditions of employment Plaintiffs advance more than adequate facts supporting a
finding that Defendants control the conditions of Plaintiffs’ employment

First, Plaintiffs’ claims that they lived in substandard rooms support an inference that
Plaintiffs lacked control over the conditions of their employment.33 And Plaintiffs’ additional
allegations that Defendants sought out “desperate” people to engage in their scheme leave little
room for doubt about a lack of control. (Am. Compl. 11 20.)

Next, all Plaintiffs aver that they resided at the Hotel in exchange for their work. The
Humanitarian for Trade zolunteer Agreements which require Plaintiffs to perform satisfactory
work in order to remain at the Hotel, patently evince Defendants’ control over the conditions of
employment Not only do the Agreements lack any indicia that Plaintiffs could control any
terms within them, but they also strongly suggest complete dependence of Plaintiffs on
Defendants See Grijz`n, 768 F.Supp. at 539 (“[I]t appears likely that [Plaintiffs] knew [they]
must work, or else leave.”).34

The Court does not hesitate to conclude that Plaintiffs establish the second prong of the

Economic Reality Test: control over the worker’s schedule or conditions of employment This,

 

33 The Grijin Court observed that the “squalid” conditions of the housing that the
employer provided in exchange for services evinced the employee’s lack of control. 768 F.Supp.
at 539. The court reasoned that the plaintiffs economic dependency on the defendant “was
complete” because “[w]ithout any pay[,] he was in no position [to] seek and rent a room on his
own.” Id. Here, analogously, the Court regards the allegations of substandard living
accommodations as weighing in favor of a conclusion that Defendants controlled Plaintiffs’
conditions of employment

34 In GrWin, the Court deemed the fact that the defendant did not pay the plaintiff money,
but instead allowed the plaintiff to live on his property, as key to its analysis of control. 768
F.Supp. at 539. That court found that an employer-employee relationship existed between the
defendant and the plaintiff in part because the plaintiffs “dependency on [the defendant] was
complete.” lai.

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in turn, thoroughly favors finding the existence of an employer-employee relationship in the case
at bar.

d. Factor Three: Plaintiffs Sufficiently Plead that Defendants
Controlled Plaintiffs’ Rate and Method of Payment

Plaintiffs also plead more than sufficient facts to meet the third prong of the Economic
Reality Test: that Defendants controlled each Plaintiffs’ rate and method of pay. According to
Plaintiff`s, the Patels owned and managed the Hotel. Defendants recruited workers through the
Volunteer for Humanitarian Trade Program. The Volunteer for Humanitarian Trade Agreement,
in turn, evinces a one-sided system: workers fill out a pre-existing form with only their contact
information, and without any apparent input into the terms of the Agreement None of the
plaintiffs had an opportunity to negotiate over the type of compensation

Ar-Raheem’s allegations highlight Defendants’ control. Plaintiffs aver that Ar-Raheem
initially received monetary compensation for her work as a front desk clerk. Then, “in March
2016, Defendants moved Ms. Ar-Raheem to their ‘Volunteer for Humanitarian Trade’ program.”
(Am. Compl. 11 76.) Especially because Ar-Raheem received no monetary compensation alter
the switch, Plaintiffs amply allege that Defendants controlled the terms of compensation with
regard to Ar-Raheem.

Considering the circumstances about the work activity alleged in the Amended
Complaint as a whole_i. e. , that the method of pay amounted to providing a room but no
monetary compensation_the Court concludes that Plaintiffs allege facts supporting at least the
reasonable inference in favor of Plaintiffs that Defendants controlled Plaintiffs’ rate and method
of pay. See Rutherford, 331 U.S. at 730 (Whether an employer-employee relationship exists

depends “upon the circumstances of the whole activity.”)

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e.;" Factor Four: Plaintiffs Suff`iciently Plead that Defendants
Could Have Maintained Plaintiffs’ Employment Records

Finally, as to the fourth prong of the Economic Reality Test, Plaintiffs adequately plead
facts regarding this one-sided program to support a finding that Defendants could have
maintained employment records if they chose to do so. Plaintiffs allege that, “[t]o the degree
anyone at the hotel kept records, [the Patels], upon information and belief, w[ere] involved in
such recordkeeping.” (Am. Compl. ‘lljl 20-21.) Considering the well-pleaded assertions about
the three other prongs, the Court concludes that these allegations sufficiently meet the fourth
factor of the Economic Reality Test. Given the program Plaintiffs describe, and viewing the
circumstances of the activity as a whole, the Court draws the reasonable inference that, as part of
this overarching control, Defendants had a duty to maintain Plaintiffs’ employment records

To the extent Defendants failed to maintain proper records in compliance with the FLSA,
this cannot excuse them from liability under the FLSA. See Grijj"in, 768 F.Supp. at 538. In
Grijj‘in, a defendant argued that the FLSA did not apply to him, in part, because the plaintiff
could not show that the defendant kept employment records Id. The Court concluded that the
defendant could not escape liability by failing to keep records, and then using his “fail[ure] to
observe the most rudimentary customs of the employer-employee relationship” to stymie the
plaintiffs ability to prove his case. Id.

In conclusion, the Court readily finds that Plaintiffs plead ample plausible facts under the
Economic Reality Test to survive Defendants’ dismissal motion. Plaintiffs plausibly allege that
Defendants had the power to hire and fire each Plaintiff; controlled all Plaintiffs’ work schedules
and conditions of employment; determined Plaintiffs’ rate and method of payment; and readily
had the ability to maintain employment records See Kerr, 824 F.3d at 83 (quotation omitted).

Viewing the circumstances of the activity as a Whole, the Court finds that Plaintiffs plausibly

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plead that an employer-employee relationship existed between Defendants and each Plaintiff,
See Rutherford, 331 U.S. at 730.

C. Plaintiffs Pili and Vaughn Plead Sufficient Facts to Support
their Retaliation Claims

In Count IV of the Amended Complaint, Pili and Vaughn allege that Defendants
unlawfully retaliated against them in violation of the FLSA. For the reasons stated below, the
Court concludes that Plaintiffs Pili and Vaughn have met their burden to plausibly state a claim
for retaliation that survives a Rule 12(b)(6) motion to dismiss

The retaliation provision of the FLSA renders it unlawful to “discharge or in any other
manner discriminate against any employee because such employee has filed any complaint or
instituted or caused to be instituted any proceeding under or related to this chapter.” 29 U.S.C.

§ 215(a)(3). To state a prima facie case of retaliation, a plaintiff “must show that (1) [she or] he
engaged in an activity protected by the FLSA; (2) [she or] he suffered adverse action by the
employer subsequent to or contemporaneous with such protected activity; and (3) a causal
connection exists between the employee’s activity and the employer’s adverse action.” Darveau
v. Detecon, Inc., 515 F.3d 334, 340 (4th Cir. 2008).

'l`o satisfy the second prong of a prima facie retaliation case, a plaintiff must show that
the employer engaged “in an action that would have been materially adverse to a reasonable
employee because the employer’s actions could well dissuade a reasonable worker from making
or supporting a charge of discrimination.” Id. at 343 (internal alterations quotations, and
citations omitted). “[A] FLSA retaliation claim may lie for retaliatory acts committed against an
ex-employee.” Brach v. Conjlict Kinetics Corp., 221 F. Supp. 3d 743, 753 (E.D. Va 2016)

(citing Darveau, 515 F.3d at 343). Implied threats of retaliatory adverse action suffice to

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establish that the plaintiff suffered adverse action by the employer. See, e.g. , Brach, 221 F.
Supp. 3d at 754.

Plaintiffs Pili and Vaughn satisfy each prong of the analysis to survive this motion to
dismiss First, Pili and Vaughn filed the Original Complaint alleging violations of the FLSA.
Defendants do not dispute that the Original Complaint constitutes “any complaint . . . under or
related to” the FLSA. 29 U.S.C. § 215(a)(3). Thus, Pili and Vaugh meet the first factor of the
retaliation analysis

Second, Plaintiffs Pili and Vaughn plausibly plead facts that Defendants took adverse
action “subsequent to or contemporaneous with” the filing of the Original Complaint Darveau,
515 F.3d at 340. This properly establishes the second prong in assessing the efficacy of a FLSA
retaliation claim. Pili and Vaughn allege that, just days after filing the Original Complaint,
Counsel for Defendant sent opposing counsel a Reconciliation Sheet for both Pili and Vaughn.
The Reconciliation Sheets include notations of charges to Pili and Vaughn for the fair value of
the rooms in which they stayed at the Hotel.35 They also include written allegations that Pili and
Vaughn stole items and/or money from the Hotel.36 Vaughn’s Reconciliation Sheet adds a
censure stating that “Vaughn’s incompetent work” resulted in $5,700.00 in damages and $250 in
repairs (Vaughn’s Reconciliation Sheet 1.)

Plaintiffs in their Amended Complaint, assert that Pili “never stole items from

Defendants and had never before been told that she owed [Defendants] money for the ‘fair value

 

33 Pili’s Reconciliation Sheet reflects that Pili owes Defendants $1,026.25 “‘for the fair
value of room’ less the alleged value of the Work that [Pili] performed.” (Am. Compl. j| 38
(quoting Pili’s Reconciliation Sheet l).) Vaughn’s Reconciliation Sheet notes that Vaughn owes
the Hotel $310.00 for the fair value of the room he stayed in.

36 Notes on Pili’s Reconciliation Sheet state that Pili owes Defendants $7,526.25 for theft
of property and money. Vaughn’s Reconciliation Sheet reflects that Vaughn owes Defendants
$6,760.00 for theft of property,

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of room’ at the hotel.” (Am. Compl. 1[ 39.) Plaintiffs also contend Vaughn “never stole any
items from Defendants and had never before been told that he owed money for the ‘fair value of
room’ at the [H]otel” beyond the deposit (Am. Compl. 11 56.) Plaintiffs aver that the
Reconciliation Sheets “Were baseless, and were apparently an attempt to persuade Ms. Pili and
Mr. Vaughn to cease proceeding with their lawsuit.” (Am. Compl. 1[ 101.)

Although Defendants did not bring a civil counterclaim or file criminal charges against
Pili or Vaughn, even implied threats of retaliatory adverse action suffice to establish that the
plaintiff suffered adverse action by the employer. See, e.g., Brach, 221 F. Supp. 3d at 754 (Text
messages stating that the employee risked losing his savings or money in a potential
counterclaim constituted adverse employer action.) Viewing the allegations most favorably to
Plaintiffs Pili and Vaughn, they adequately demonstrate that Defendants asserted these claims
against Pili and Vaughn in retaliation for their filing of the Original Complaint

Finally, because they invoke the timing of receipt of the Reconciliation Sheets, Plaintiffs
plead facts that support a plausible inference that “a causal connection exists between the
employee’s activity and the employer’s adverse action.” Darveau, 515 F.3d at 340. Plaintiffs
contend that Defendants provided the Reconciliation Sheets for the first time shortly after
Plaintiffs filed the Original Complaint alleging FLSA violations According to Plaintiffs, no
factual basis exists for Defendants’ claims that Pili and Vaughn owe them money for their hotel
stay or theft.

Defendants strongly dispute that they produced or provided the Reconciliation Sheets in
retaliation for Plaintiffs bringing the Original Complaint, stating “that timing was due only to the
fact [that Counsel for Défendant] became involved in multiple trials and was thus unable to

gather the information sooner.” (Mem. Supp. 2d Mot. Dismiss 3.) Given Rule 12(b)(6)’s

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permissive standard, the argument cannot prevail. The Court concludes that Plaintiffs allege
sufficient facts to support their claim that Defendants retaliated against Plaintiffs Pili and
Vaughn when Counsel for Defendants provided Counsel for Plaintiffs With the Reconciliation
Sheets following the filing of the Original Complaint,

D. The Co\_irt Will Denv tl_1e Second Motion to Dismiss

The Court concludes that each of Plaintiffs’ causes of action survives scrutiny under the
permissive pleading standard Rule 12(b)(6) articulates First, Plaintiffs plausibly allege facts in
support of their claim that Defendants constitute an enterprise with gross revenue of at least
$500,000, meaning that the FLSA applies to them, Plaintiffs also plausibly proffer facts in
support of their claim that an employer-employee relationship existed between Defendants and
each named Plaintiff, Thus, Count I, the FLSA compensation claim, survives the challenge.

In Count IV, Plaintiffs Pili and Vaughn state a claim for FLSA retaliation because the
Reconciliation Sheets arrived shortly after they filed their Original Complaint and they included
notations that threatened adverse action against them by Defendants

Counts lanle establish federal question jurisdiction in this Court. The Court,
therefore, will exercise supplemental jurisdiction over Count II (the Virginia state law claim) and
Count III (the quantum meruit claim) pursuant to 13 U.S.C. § 1367. Because Defendants sought
dismissal of Counts II and III premised on the lack of federal question jurisdiction, the Court will
deny the Second Motion to Dismiss in its entirety.

III. Analysis: Motion for Sanctions

On August 14, 2018, Defendants filed the Motion for Sanctions, citing Plaintiffs’

addition of the retaliation claims as the basis for sanctions Defendants bring the Motion for

Sanctions on two grounds First, Defendants contend that Plaintiffs impermissibly rely on

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confidential settlement negotiation documents to undergird Count IV. Second, Defendants argue
that Plaintiffs’ retaliation claims lack a basis in law or fact The Court, finding these arguments
unconvincing, will deny the Motion for Sanctions

A. Legal Standard Applicable to Awarding Rule 11 Sanctions

Federal Rule of Civil Procedure 1137 “requires that an attorney conduct a reasonable
investigation of the factual and legal basis for his claim before filing.” Brubaker v. City of
Richmond, 943 F.2d 1363, 1373 (4th Cir. 1991) (citation omitted). “The prefiling investigation
must appear objectively reasonable.” Id. (citation omitted). A complaint fails to meet Rule 1 1’s
prefiling factual investigation requirement “whe[n] there is no factual basis for a plaintiffs
allegations.” Id. A prefiling investigation fails to meet Rule 1 1’s legal investigation requirement
when the complaint has “absolutely no chance of success under the existing precedent.” Id.
(quoting Cleveland Demolz°tion Co. v. Azcon Scrap Corp., 827 F.2d 984, 988 (4th Cir. 1987)).

Rule 11 “is not intended to chill an attorney’s enthusiasm or creativity in pursuing factual

or legal theories.” Fed. R. Civ. P. 11, advisory committee’s notes to 1983 amendment Rather,

 

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37 Rule ll(b) states:

By presenting to the court a pleading, written motion, or other paper-whether by
signing, filing, submitting, or later advocating it-an attorney or unrepresented
party certifies that to the best of the person's knowledge, information, and belief`,
formed after an inquiry reasonable under the circumstances

(1) it is not being presented for any improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation;

(2) the claims, defenses, and other legal contentions are warranted by existing law
or by a nonfrivolous argument for extending, modifying, or reversing existing law
or for establishing new law;

(3) the factual contentions have evidentiary support or, if specifically so
identified, will likely have evidentiary support after a reasonable opportunity for
further investigation or discovery; and

(4) the denials of factual contentions are warranted on the evidence or, if
specifically so identified, are reasonably based on belief or a lack of information.

Fed. R. Civ. P. 1 1(b).

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Rule 11 “attempts to discourage the needless filing of groundless lawsuits.” Clevelana’
Demolition, 827 F.2d at 988. Rule 11 simply requires an attorney to “investigate the facts,
examine the law, and then decide whether the complaint is justified.” Id.

B. Even if it Pertained, Federal Rule of Evidence 408 Would Not Proscribe
the Use of this Evidence to Support the Retaliation Claims

Defendants first contend that Plaintiffs acted improperly because they impermissibly rely
on the Reconciliation Sheets to support their retaliation claims, According to Defendants,
Counsel for Defendants provided the Reconciliation Sheets to Counsel for Plaintiffs as part of
confidential settlement negotiations Defendants aver that Federal Rule of Evidence 40838
proscribes the use of the Reconciliation Sheets against Defendants The argument fails for two
reasons

First, the record does not support Defendants’ contention that Defendants provided the
Reconciliation Sheets as part of confidential settlement negotiations Plaintiffs initiated
correspondence with Defendants by sending the Demand Letter, which included the prominent
disclaimer: “For settlement purposes only.” (Demand Letter l (capitalization and bolding
altered).) But neither party marked any other document with this disclaimer, and neither party
appears to have attempted to preserve any kind of confidentiality.

Both Plaintiffs and Defendants attach documents showing written exchanges among
Counsel for both Plaintiffs and Defendants following the Demand Letter. No correspondence
indicates that Defendants engaged actively, or solely, in settlement negotiations Not a single

document following the Demand Letter contains anything like a “for settlement purposes only”

 

311 Rule 408 states, in relevant part, that evidence shared during a settlement negotiation
“is not admissible - on behalf of any party -_ either to prove or disprove the validity or arnoth

of a disputed claim or to impeach by a prior inconsistent statement or a contradiction.” Fed. R.
Evid. 408.

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disclaimer, And certainly nothing indicates that Plaintiffs unreasonably failed to perceive the
exchanges as a confidential settlement negotiation At most, the correspondence reveals a
possible willingness by Plaintiffs to work with Defendants to “resolve this case out of court.”
(Demand Letter 2.)

In his affidavit Counsel for Defendant avers that he informed Counsel for Plaintiffs that
“Mr. Patel had requested [Counsel for Defendants’] firm to see if we could resolve this matter.”
(Jackson Aff. 1.) Counsel for Plaintiffs in his declaration, asserts that Counsel for Defendants
stated that Defendants ;‘yvould be interested in talking about settling the claim in the near future,
if possible. . . . However, at no point, either on that call or otherwise, were any settlement offers
made or even the possible terms of a settlement discussed.” (Levy-Lavelle Decl. 2, ECF No. 43-
1.) No evidence contrary to this statement by Plaintiffs’ Counsel stands before the Court.

At the December 11, 2018 Hearing, Counsel for Defendants argued that Counsel for
Plaintiffs knew or should have known that Defendants authorized him only to engage in
settlement discussions meaning that any correspondence between Counsel constituted
confidential settlement negotiations The record does not support this proposition Even if a
genuine misunderstanding existed between opposing counsel regarding the nature of the
correspondence, the Court cannot find that Plaintiffs unreasonably concluded that the exchanges
fell outside of the scope of any potential settlement negotiation

Secondarily, even were the Court to assume that Plaintiffs obtained the Reconciliation
Sheets through confidential settlement negotiations Rule 408 would not apply. Rule 408 only
proscribes a party from submitting materials obtained during a settlement negotiation for the
purpose of “prov[ing] or disprov[ing]e the validity or amount of a disputed claim.” Fed. R. Evid.

408. Defendants concede they provided the Reconciliation Sheets when discussing the Original

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Complaint, which did not bring a retaliation claim, Plaintiffs submit the Reconciliation Sheets to
support a new claim_the retaliation claim. Rule 408 does not prohibit this use of information
obtained during settlement negotiations See, e.g., Uforma/Shelby Bus. Forms, Inc. v. NLRB, lll
F.3d 1284, 1293-94 (6th Cir. 1997).

C. The Court Will Deny the Motion for Sanctions Because Plaintiffs
Conducted a Reasonable Factual and Legal Prefiling Investigation

In the Motion for Sanctions Defendants allege that Plaintiffs improperly bring their
FLSA retaliation claim “without any reasonable basis.” (Mem. Supp. Mot. Sanctions 1, ECF No.
37.) Having reviewed the entire record, and concluding that Plaintiffs conducted a reasonable
factual and legal prefiling investigation the Court will deny the Motion for Sanctions

First, Counsel for Plaintiffs declares that, on receipt of the Reconciliation Sheets that
became central to Plaintiffs’ FLSA retaliation claim, he investigated the factual basis for
Defendants’ claims This included emailing Counsel for Defendants within days asking for
specific additional information to substantiate Defendants’ claims Counsel for Plaintiffs states:
“'l`he purpose of the request, in substantial part, was to determine whether or not the allegations
Were an attempt devoid of factual basis to intimidate Plaintiffs into abandoning their claims for
unpaid Wages.” (Id.) Defendants did not respond. Counsel for Plaintiffs also discussed the
allegations with Plaintiffs Pili and Vaughn directly. Ultimately, Counsel for Plaintiffs “could
find no evidence to support the Defendants’ claims, or that these allegations had been made prior
to the filing of this action.” (Id.) Defendants do not contest any of the statements that Counsel
for Plaintiff makes in his sworn Declaration.

Based on this Declaration, as well as a review of the entire record and proceedings to
date, the Court readily finds that Plaintiffs’ conducted a reasonable factual prefiling

investigation

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As to a reasonable legal investigation the Court does not hesitate in concluding that
Counsel for Plaintiffs conducted a reasonable legal investigation Not only do the above actions
support such a finding, but the Court also has concluded that Plaintiffs’ FLSA retaliation claim
survives the Rule 12(b)(6) Second Motion to Dismiss: Plaintiffs Pili and Vaughn plausibly plead
that Defendants retaliated against them in violation of the FLSA. Accordingly, Count IV
certainly passes muster under Rule 11, which requires even less of the nonmoving party than a
Rule 12(b)(6) motion See, e.g., Brubaker, 943 F.2d at 1373. The Court Will deny the Motion
for Sanctions

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For the foregoing reasons the Court will deny the Second Motion to Dismiss and the
Motion for Sanctions

An appropriate Order shall issue.

     
 

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United St tes istrict Judge

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